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                         Exhibit I
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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


 DENIS MARC AUDET, et al.,                           Civil Action No. 3:16-cv-00940

                                Plaintiffs,          Honorable Michael P. Shea

                       vs.

 STUART A. FRASER, GAW MINERS,                       May 21, 2018
 LLC, and ZENMINER, LLC,

                                Defendants.

                         DEFENDANT STUART A. FRASER’S
                  FIRST SET OF INTERROGATORIES TO PLAINTIFFS

       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and Rule 26 of the

Local Rules of the United States District Court for the District of Connecticut, Defendant Stuart

A. Fraser (“Fraser”), through his undersigned counsel, propounds the following Interrogatories to

Plaintiffs and requests that they be answered separately by each of the Plaintiffs and under oath

within thirty (30) days of the date of these Interrogatories.

                                          DEFINITIONS

       1.      The Uniform Definitions in Discovery Requests set forth in Local Civil Rule 26

are hereby incorporated by reference into these Interrogatories.

       2.      “Communication” means the transmittal of information (in the form of facts,

ideas, inquiries or otherwise), including without limitation emails, text messages, messages sent

through or on online chatrooms (including Reddit, Bitcoin Talk, Hashtalk.org and others),

messages sent through secure applications such as Telegram, social media messages or posts

(including LinkedIn, Twitter, Facebook and others), and any other form of communication.

       3.      “Companies” refers to Defendants GAW Miners, LLC and ZenMiner, LLC (d/b/a

ZenCloud).
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       4.     “Complaint” refers to Plaintiffs’ First Amended Complaint filed November 4,

2016 in this action (ECF No. 57).

       5.     “Employee” means any employee, associate, agent or representative of the

relevant company or individual.

       6.     “First Supplemental Initial Disclosures” refers to Plaintiffs’ First Supplemental

Rule 26(a)(1) Initial Disclosures, served on Fraser on November 22, 2017.

       7.     “Fraser” or “Defendant” refers to Defendant Stuart A. Fraser.

       8.     “Garza” refers to Homero Joshua Garza, a named defendant in the original

Complaint filed June 15, 2016 in this action (ECF No. 1) and any attorney or employee acting on

his behalf.

       9.     “GAW Cryptocurrency Products” means Hardware-Hosted Mining, Cloud-

Hosted Mining, Hashlets, Hashpoints, HashStakers, Paycoin and any other product or service

offered by the Companies as alleged in Paragraph 160 of the Complaint.

       10.    “GAW Miners” refers to GAW Miners, LLC.

       11.    “Initial Disclosures” refers to Plaintiffs Rule 26(a)(1) Initial Disclosures served on

October 25, 2017.

       12.    “Investment” means each and every purchase, sale, transfer or redemption in any

cryptocurrency or cryptocurrency product, including without limitation any GAW

Cryptocurrency Products or any other virtual currency, made by You or on Your behalf.

       13.    “Paybase Wallet” means the virtual currency product launched by GAW Miners

as alleged in Paragraph 8 of the Complaint.

       14.    “Paycoin” means the virtual currency product launched by GAW Miners as

alleged in Paragraph 8 of the Complaint.
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       15.       “Plaintiffs,” “You” and “Your” refers to any one or more of Denis Marc Audet,

Michael Pfeiffer, Dean Allen Shinners and Jason Vargas, and any associates, agents, or any other

person acting on their behalf.

       16.       “Putative Class Members” refers to any putative class member who may be

identified through discovery, and any employee or other person acting on their behalf.

       17.       “ZenMiner” refers to ZenMiner, LLC (d/b/a ZenCloud).


                                          INSTRUCTIONS

       1.        Each Plaintiff is to respond to each paragraph of these Interrogatories separately.

       2.        If You or any Putative Class Member is withholding responsive information

pursuant to any objection, You should so expressly indicate.

       3.        If any Interrogatory cannot be answered in full or in part, state, in writing, the

reason for Your or any Putative Class Member’s inability to respond to all or any portion of the

Interrogatory.

       4.        The terms “and” and “or” shall be construed either disjunctively or conjunctively

as necessary to bring within the scope of the Interrogatory all answers that might otherwise be

construed to be outside its scope.

       5.        The use of the singular form of any word includes the plural and vice versa.

       6.        These Interrogatories are continuing in nature. If, after responding to these

Interrogatories, You obtain or become aware of additional responsive information, You are

required to provide such information by way of supplemental response.

                                       INTERROGATORIES

       1.        Identify each of Your email addresses, online usernames, avatars, screen-names

or any other identifier and its associated platform, forum or application through which You
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discussed GAW Cryptocurrency Products, the Companies, Garza or Fraser, including without

limitation Your identifying information for Hashtalk, Reddit and Bitcointalk.

       2.      Identify each person or entity that was involved in Your decision to make Your

Investment in the GAW Cryptocurrency products.

       3.      Identify each person or entity that monitored, retained, redeemed or sold Your

Investment in the GAW Cryptocurrency Products.

       4.      Identify any website, software or other application through which You monitored

the value of Your Investments in the GAW Cryptocurrency Products.

       5.      Identify each telephone conversation, in-person meeting or other communications

You had with Garza concerning the Companies, GAW Cryptocurrency Products or Your

Investments by setting forth for each such conversation, meeting or communication: (a) each

person who participated or was present; and (b) the date or time period during which it

took place.

       6.      Identify each telephone conversation, in-person meeting or other communication

You had with Employees of the Companies other than Garza concerning the Companies, GAW

Cryptocurrency Products or Your Investments by setting forth for each such conversation,

meeting or communication: (a) each person who participated or was present; and (b) the date or

time period during which it took place.

       7.      Identify each telephone conversation, in-person meeting or other communication

You had with the Federal Bureau of Investigation concerning the Companies, GAW

Cryptocurrency Products or Your Investments by setting forth for each such conversation,

meeting or communication: (a) each person who participated or was present; and (b) the date or

time period during which it took place.
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         8.    Identify each telephone conversation, in-person meeting or other communication

You had with Fraser or Thomas Fraser concerning the Companies, GAW Cryptocurrency

Products or Your Investments by setting forth for each such conversation, meeting or

communication: (a) each person who participated or was present; and (b) the date or time period

during which it took place.

         9.    Identify each telephone conversation, in-person meeting or other communication

You had with any non-party concerning the Companies, GAW Cryptocurrency Products or Your

Investments, by setting forth for each such conversation, meeting or communication: (a) each

persons who participated in or was present; and (b) the date or time period during which it took

place.

         10.   Identify any marketing materials, website content, or other written materials that

You reviewed concerning any of the GAW Cryptocurrency Products.

         11.   Identify each of the email addresses You used to communicate with the

Companies, any Employees of the Companies or Garza.

         12.   Identify any lawsuit, proceeding, claim or demand of any kind concerning Your

Investment in the GAW Cryptocurrency Products that You filed or initiated other than this

action, including the names of the parties, the nature of the action, the date of the action, the case

number and the court in which each such proceeding was filed.

         13.   Identify any other class action or putative class action in which You been a named

plaintiff, including the names of the parties, the nature of the action, the date the action was

commenced, the case number and the court in which the action was filed.
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       14.    Identify each payment You received concerning Your investment in the GAW

Cryptocurrency Products, including the date and amount of each such payment and the person or

entity who made each such payment.

       15.    Identify Garza’s last known address and telephone number(s).
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Dated: May 21, 2018

                                           Respectfully submitted,

                                           HUGHES HUBBARD & REED LLP

                                           By: /s Sarah L. Cave_______

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